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                                                                                                2024 Sep-12 AM 09:21
                                                                                                U.S. DISTRICT COURT
                                                                                                    N.D. OF ALABAMA


                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

 BLACK WARRIOR RIVER-KEEPER,                       )
 INC., et al.,                                     )
                                                   )
        Plaintiffs,                                )
                                                   )
 v.                                                )   Case No.: 2:23-cv-01211-RDP
                                                   )
 BLUESTONE COKE, LLC, JAY                          )
 JUSTICE, AND DON WIGGINS,                         )
                                                   )
        Defendants.

                   AMENDED PLAINTIFFS’ REPORT TO THE COURT

       Defendants have still failed to comply with another Order of this Court, even after being

given an extra day to purge their contempt. On August 22, 2024, this Court ordered that Bluestone

Coke, LLC, James “Jay” Justice, III, and Donald Wiggins (“Defendants”) were in civil contempt.

In order to purge that contempt, Defendants must pay “Plaintiffs’ reasonable costs and fees,”

produce responses to Plaintiffs’ pending discovery requests, and provide deposition dates and

alternative mediation dates by September 11. Doc. 52. The Court also ordered Plaintiffs to certify

whether Defendants were in compliance with the Order by September 11. Id.

       Defendants have failed to pay any fees and thus are in violation of the Order. Plaintiffs sent

Defendants an invoice for $13,260, the costs and fees incurred by working to obtain discovery for

the last six months. However, this invoice has not been paid. (See Ex. A, Email and Invoice from

Plaintiffs dated Aug. 30, 2024). Additionally, Defendants have not disputed or in any way

disagreed that Plaintiffs were due this amount. Defendants simply did not respond.
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       The Defendants have agreed to be deposed on October 7-9, 2024, and agreed to hold

mediation on October 25. At 6:08pm last night, six months after Plaintiffs propounded discovery,

Defendants produced approximately sixty-seven documents and written responses to Plaintiffs’

Requests for Production and Interrogatories. Plaintiffs are still reviewing these documents to see

if they are responsive.

       This Court ordered that “Any failure to comply with this Order or to cooperate or

participate SHALL result in an order that Defendants appear and show cause in person as to why

they are not in compliance with this Order and why the court should not impose further contempt

sanctions. Failure to appear and show cause in person may result in (a) monetary sanctions, (b) an

order of default, and (c) other appropriate sanctions.” Doc. 52.

       Defendants have failed to pay attorney fees, and thus according to this Court, Defendants

must appear and show cause in person as to why they are not in compliance with this Order and

why this Court should not impose further contempt sanctions. Defendants’ systematic, blatant

disregard of the Court’s orders wastes both judicial and the Plaintiffs’ resources. Defendants should

be held accountable.

       Respectfully submitted this 12th day of September, 2024,

                                                              s/Sarah Stokes
                                                              ASB-1385-A55S
                                                              Ryan Anderson
                                                              ASB-7600-M22Y
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                                                              s/Eva L. Dillard
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                                CERTIFICATE OF SERVICE
       I hereby certify that, on September 12, 2024, I electronically filed the foregoing document
with the Clerk of Court using the CM/ECF system, which will send notification of the filing to all
counsel of record.


                                                            s/Sarah Stokes
                                                            Sarah Stokes
                                                            One of the Attorneys for Plaintiffs




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